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         IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

JIM BONFIGLIO CAMPAIGN
and JIM BONFIGLIO, individually
and as an Elector of House District 89,

            Plaintiff,

v.                                         Case No. 4:18cv527-MW/CAS

KENNETH W. DETZNER, in his
official capacity as Florida Secretary
of State, et al.,

          Defendants.
_________________________/

                   ORDER GRANTING UNOPPOSED
                 EMERGENCY MOTION TO INTERVENE

      This Court has considered, without hearing, the Unopposed Emergency

Motion to Intervene filed by Bill Nelson for U.S. Senate and the Democratic

Senatorial Campaign Committee. ECF No. 32. The motion is GRANTED. Any

documents on behalf of the Intervenors must be filed by Thursday, November 15,

2018, by 12:00 p.m.

     SO ORDERED on November 15, 2018.


                                     s/ MARK E. WALKER
                                     Chief United States District Judge
